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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

v.                                                    CRIMINAL NO. 21-mj-53

CHRISTINE PRIOLA,

Defendant.




                                              ORDER

       Based on the representations in the government's motion to unseal the indictment and the

case file from this date forward, this Court makes the following:

                                      FINDINGS OF FACT

       On June 13, 2021, the government applied for an Arrest Warrant and Complaint in this

matter. The affidavit filed in support of the Complaint details the facts supporting probable cause

to believe that Defendant has violated Title 18, United States Code, Sections 1752 (a)(1); and

Title 40, United States Code, Sections 5104(e)(2)(A) and (D), and 5104(f). At that time,

Magistrate Judge G. Michael Harvey signed an arrest warrant for Defendant. Also at that time,

the government moved to seal the Complaint and Arrest Warrant, and Judge Harvey so ordered.

The sealing order provided that the Complaint and Arrest Warrant would be sealed “until further

order of this Court, except as necessary to facilitate the enforcement of criminal law, including

the execution of the Arrest Warrant, or to any federal official to assist the official receiving the

information in the performance of that official’s duties.” Defendant was arrested pursuant to the

arrest warrant on January 14, 2021. She will have her initial appearance on January 14, 2021, as
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well. Accordingly, the sealing order now should be lifted and the Complaint, Arrest Warrant, and

the case from this date forward unsealed.


       Based on the above, it is on this    14th       day of January 2021,

        ORDERED that the Order to Seal be lifted, and that the Complaint, Arrest Warrant, and
                                                                                  G. Michael Harvey
the case from the date of this Order forward be unsealed.                         2021.01.14 11:27:59
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                                                         ___________________________
                                                         G. Michael Harvey
                                                         United States Magistrate Judge
                                                          for the District of Columbia




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